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                         EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 17-CV-62197-CMA

   LS ENERGIA INC, et al.,

          Plaintiffs,

   vs.

   REPUBLIC OF ANGOLA, et al.,

         Defendants.
   ___________________________________/

                        ORDER OF DISMISSAL WITHOUT PREJUDICE

          Plaintiffs, LS Energia Inc (Florida) and LS Energia Inc (Panama) (collectively,

   “Plaintiffs”), and Defendants, Republic of Angola, Ministry of Energy and Water, and Empresa

   Pública de Produção de Electricidade, E.P. (collectively, “Defendants”) (all parties referred to as

   the “Parties”), have stipulated and agreed, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), to the

   voluntary dismissal without prejudice of the Complaint, as amended, with all parties to bear their

   own attorneys’ fees, costs, and expenses.

          ORDERED AND ADJUDGED that all claims in the above captioned action are

   dismissed without prejudice, with all parties bearing their own attorneys’ fees, costs, and

   expenses.

          DONE AND ORDERED in Miami, Florida, this ___ day of July, 2018.



                                                        __________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

   cc:    counsel of record
